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1     LAWRENCE A. ORGAN (SBN 175503)           MICHAEL RUBIN (SBN 80618)
      larry@civilrightsca.com                  mrubin@altber.com
2     MARQUI HOOD (SBN 214718)                 JONATHAN ROSENTHAL (SBN 329638)
3     marqui@civilrightsca.com                 jrosenthal@altber.com
      CIMONE A. NUNLEY (SBN 326915)            ALTSHULER BERZON LLP
4     cimone@civilrightsca.com                 177 Post Street, Suite 300
      CALIFORNIA CIVIL RIGHTS LAW GROUP        San Francisco, California 94108
5
      332 San Anselmo Avenue                   Telephone:     (415) 421-7151
6     San Anselmo, California 94960            Facsimile:     (415) 362-8064
      Telephone:     (415)-453-7352
7     Facsimile:     (415)-785-7352        DUSTIN L. COLLIER (SBN 264766)
                                           dcollier@collierlawsf.com
8
       J. BERNARD ALEXANDER (SBN 128307) V. JOSHUA SOCKS (SBN 303443)
9      balexander@amfllp.com               jsocks@collierlawsf.com
       ALEXANDER MORRISON & FEHR LLP       ELIZABETH R. MALAY (SBN 336745)
10     1900 Avenue of the Stars, Suite 900 emalay@collierlawsf.com
       Los Angeles, California 90067       DREW F. TETI (SBN 267641)
11
       Telephone:     (310) 394-0888       drew@collierlawsf.com
12     Facsimile:     (310) 394-0811       COLLIER LAW FIRM, LLP
                                           240 Tamal Vista Blvd. Suite 100
13                                         Corte Madera, CA 94925
                                           Telephone: (415) 767-0047
14                                         Facsimile: (415) 767-0037
     Attorneys for Plaintiff,
15
     OWEN DIAZ
16
                            UNITED STATES DISTRICT COURT
17
                         NORTHERN DISTRICT OF CALIFORNIA
18

19
     OWEN DIAZ,                                  Case No. 3:17-cv-06748-WHO
20
          Plaintiff,                             DECLARATION OF DUSTIN L.
21
          v.                                     COLLIER IN SUPPORT OF
22                                               PLAINTIFF’S MOTION FOR
     TESLA, INC. dba TESLA MOTORS, INC.;         ATTORNEY’S FEES
23
          Defendant.                             Trial Date: March 27, 2023
24
                                                 Complaint filed: October 16, 2017
25

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1            I, DUSTIN L. COLLIER, have personal knowledge of and, if called as a witness, would
2    competently attest to the following:

3            1.      I am an attorney duly licensed by the State Bar of California. I am also counsel of

4    record for Plaintiff Owen Diaz in the above-captioned matter, together with our co-counsel.

5            2.      I graduated from Berkeley Law in 2009, where I received a Van Bourg Scholarship

6    and won a “best oralist” award and placed as a Semi-Finalist in the PACE National Environment

7    Law Moot Court Competition. Since graduating, I have occasionally returned to Berkeley Law to

8    judge moot court competitions and/or to provide coaching to moot court competitors. I have also

9    taught approximately 10 deposition skills programs there.

10           3.      Beginning in February 2011, I have been a trial and deposition skills instructor for

11   the National Institute for Trial Advocacy (NITA). During that time, I have taught approximately

12   25 NITA deposition and trial skills programs in San Diego, San Jose, Berkeley, San Francisco,

13   Seattle, and the Navajo Nation. This includes so-called “public programs,” an in-house “custom”

14   program for one of the world’s largest intellectual property law firms, a pro bono program at the

15   Navajo Nation, and another pro bono program for Legal Aid.

16           4.      I have also been a deposition and trial skills instructor for the University of San

17   Francisco’s “Intensive Advocacy Program,” a month-long deposition and trial skills program for

18   third year law students in their last semester before graduation. The program is intended to mentor

19   and inspire the next generation of young trial lawyers, and I am honored to have been invited to

20   teach it multiple times.

21           5.      I am a member of the California Employment Lawyers’ Association (CELA) and I

22   have been invited to teach their “Trial College” seminars every year since they started hosting them

23   in June of 2014. After teaching for just two days during the second annual training, I was asked to

24   lecture the entire student body on the art of persuasion and its application to trial practice, and I

25   now give that lecture at the outset of the program every year.

26           6.      In July 2022, I was recruited to teach with the Panish, Shea, Boyle, Ravipudi

27   (“PSBR”) Trial College in Marina Del Rey, California. Collectively, the faculty at the PSBR Trial

28   College have recovered more than $5 billion in verdicts and settlements for their clients. All are
     seasoned and highly successful plaintiff-side trial attorneys.


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1              7.     In October of 2022, I worked with David deRubertis to create an “employment law
2    track” for the annual Trial Lawyers University convention in Las Vegas. This convention, one of

3    the largest of its kind, brings together hundreds of the top trial attorneys from every corner of the

4    United States. Mr. deRubertis and I worked together to design all of the employment law

5    programming at the convention, including supervising the instructors, lecturing, and teaching

6    throughout the three-day program. My partners V. Joshua Socks and Elizabeth Malay were also

7    instructors in the program, and they received rave reviews for their breakout session on focus

8    groups.

9              8.     I have also lectured on the topics of public speaking and persuasion for the Bar

10   Association of San Francisco and at the 2020 Annual Convention of the California Employment

11   Lawyers Association. In May 2020, I published an article on these subjects in Advocate magazine, a

12   publication of the Consumer Attorneys of (Southern) California, and then an even longer version

13   of the article was selected for republication as a two-part series in Plaintsiff magazine (Advocate’s

14   Northern California analog).

15             9.     In Spring 2015, I developed a pilot trial skills program of my own entitled “Collier

16   College.” The thirteen-week program sought to improve the trial skills of my closest friends and

17   co-counsel.

18             10.    Through all the foregoing, I have trained thousands of attorneys and law students

19   on deposition and trial skills.

20             11.    On July 14, 2022, our trial team was honored to host a Trial Lawyers University

21   (“TLU”) webinar regarding our recent $34.5 verdict in the matter of Ruvalcaba v. Santa Cruz City

22   Schools et al. In October of 2022, we were awarded “Marin Trial Lawyer of the Year” by the Marin

23   Trial Lawyers Association..

24             12.    In 2016 and 2017, I was selected by The National Advocates for their “Top 40

25   Attorneys Under 40” award, recognizing that I was one of the top young attorneys in the State of

26   California. In 2019, 2020, 2021, and 2022, the affiliated National Trial Lawyers selected me for

27   their “Top 40 Under 40” list as well. We have a perfect track record of reviews on Yelp!, Google,

28   and Avvo (where I am rated 10 out of 10 and designated a “Top Attorney” in the field of
     Employment Law). For the last eight years, I have been selected to the Super Lawyers’ “Rising


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1    Stars” list, an honor granted to only 2.5% of attorneys under 40 and/or within their first ten years
2    of practice.

3            13.     In August 2020, I was selected to the Daily Journal’s annual “Top 40 Under 40” list

4    for employment law. In July of 2022 and again in July of 2023, I was selected to their even more

5    exclusive “Top 75 Labor and Employment Lawyers” list.

6            14.     As a first-year attorney in 2010, I received two attorneys’ fees awards on unrelated

7    matters, awarding me fees at the hourly rate of $300 per hour. In the Spring 2016, Mr. Socks and I

8    successfully prosecuted a petition for writ of mandate, in a matter entitled Shattner v. City of Santa

9    Rosa School District Governing Board (Sonoma County Superior Court Case No. SCV-256612). In two

10   separate fee awards issued in connection with that matter, the Court found the requested hourly

11   rates reasonable. This included a $400 per hour rate for me and a $350 per hour rate for Mr. Socks.

12   As discussed more fully below, those rates are now well below market for the services of the two of

13   us, given that we have more than seven more years of success and experience and have obtained

14   more than $80 million in additional judgments and settlements since then. As noted in the moving

15   papers at the time and below, the rates requested and received were already below market as

16   analyzed under the well-known Richard Pearl studies.

17           15.     On May 29, 2018, Mr. Socks and I were awarded attorney fees in Sargent v. Board of

18   Trustees of the California State University (Sonoma County Superior Court Case No. SCV-255399).

19   Notably, that award provided for attorney’s fees following a successful jury trial that ended in

20   March of 2017, more than six years ago. The Court approved hourly rates of $450 for Mr. Socks

21   and $500 for me. The value of our services has continued to increase since that time, as we gain

22   even more experience and trial victories, yet we have based our lodestar in this case on merely a

23   $250 per hour increase in our respective rates, averaging less than $42 per year.

24           16.     On October 18, 2021, we moved for appellate fees in the same matter. At the

25   hearing on January 12, 2022, the Court approved a $650 per hour rate for mef and a $600 per hour

26   rate for Mr. Socks. With nearly another year, several more accolades and awards, and a new $34.5

27   million verdict under our belts, we sought and were awarded a modest $50 increase in these hourly

28   rates in 2022 in a contempt proceeding in the same lawsuit. Our request for $700 per hour for my
     time and $650 per hour for Mr. Socks was granted. Our associate Elizabeth Malay, who has been


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1    and remained a licensed as an attorney for as long as Mr. Socks, but who took some time off from
2    litigation to work as a sales executive, was awarded $350 per hour for the same contempt

3    proceedings.

4            17.     Most recently, following a successful jury trial in May of 2022, we were awarded fees

5    in the matter of Ruvalcaba v. Santa Cruz City Schools et al. (Santa Cruz Superior Court Case No.

6    19CV00488). The Court approved the following rates for our firm: Dustin L. Collier - $700; V.

7    Joshua Socks - $650; Drew F. Teti - $500; Elizabeth R. Malay - $350.

8            18.     The rates we seek on this motion, $750 for me, $700 for Mr. Socks, $550 for Mr.

9    Teti, and $400 for Ms. Malay, are the rates we actually charge billable clients. Our services have

10   always been in demand, increasingly so each passing year. To take on a contingent fee case of any

11   kind necessarily requires us to decline safer and more predictable hourly work at these rates, and

12   even safer “contingency” cases outside the employment realm (i.e. admitted fault personal injury

13   cases). We never have a shortage of such cases to choose from, and thus it is the possibility of fee

14   multipliers that makes it economically worthwhile for attorneys like us to continue representing low

15   wage workers in discrimination cases where the risks involved are far more potent and

16   economically consequential.

17           19.     I am familiar with the rates charged by attorneys of comparable skill, expertise, and

18   experience throughout the State of California. As noted, I have worked with and trained thousands

19   of attorneys, and I have reviewed the market studies prepared by Richard Pearl (author of the CEB

20   Manual on “California Attorney Fee Awards”), whom I have personally worked with to prepare

21   attorney fee declarations in the past. Mr. Pearl, an expert witness who literally wrote the book on

22   attorney fee awards in California, has provided numerous sworn declarations to courts throughout

23   the State attesting to reasonable market rates based on his extensive study of the topic.

24           20.     I am also familiar with the Laffey matrix and its historical use in the context of

25   determining the reasonableness of attorney fee awards. The original Laffey Matrix was developed

26   in 1982. It was approved for use for attorneys in the Washington D.C. area in Laffey v. Northwest

27   Airlines (D.D.C. 1983) 572 F.Supp. 354. The Updated Laffey Matrix was developed in 1989 and

28   approved for use in the D.C. area in Salazar v. District of Columbia (D.D.C. 2000) 123 F.Supp.2d 8,
     13. Since then, the United States District Court for the District Columbia expressly found that the


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1    Updated Laffey Matrix is “more accurate” than the original Laffey Matrix. (Smith v. District of
2    Columbia (D.D.C. 2006) 466 F.Supp.2d 151, 156; see also Syers Properties III, Inc. v. Rankin (2014) 226

3    Cal.App.4th 691, 698-99 [approving use of Laffey matrix with a “locality adjustment,” while noting

4    that trial court is not obligated to follow the Laffey matrix at all].) Pursuant to the updated Laffey

5    Matrix, even without a locality adjustment, the market rate for my services would be $878 per hour.

6    With the “locality” adjustment approved in Syers, the rate would be $926 per hour. Mr. Socks and

7    Mr. Teti would have the same rate, and Ms. Malay would bill at $538 per hour.

8            21.     Based on this data and experience, I conclude that the reasonable market rate for

9    fourteenth year attorneys in the San Francisco Bay area is not less than $750 per hour.

10           22.     I am also familiar with the skill, experience, and expertise of V. Joshua Socks, who

11   was my associate from Fall 2015 until January 2017, when he became a partner. Mr. Socks is the

12   most talented eleventh-year attorney I have ever worked with. He is extraordinarily personable,

13   intelligent, and quick on his feet. In recent years, he has become a renowned trial lawyer in his own

14   right, receiving his own National Trial Lawyers “Top 40 Under 40” Awards in recent years, along

15   with seven SuperLawyers “Rising Stars” listings (to date). Like myself, he is now regularly invited

16   to publish, to teach, or to speak at CLE events on the art of civil litigation, persuasion, and trial

17   practice.

18           23.     Mr. Socks was recommended to me by a colleague working for one of the largest

19   plaintiffs-side employment firms in the Bay Area, a colleague who knew I was looking for a talented

20   associate and who was already impressed with his skill. When I was considering hiring Mr. Socks

21   and weighing his qualifications against another candidate I had worked with in the past, I received

22   numerous recommendations to hire him and praise from other attorneys familiar with his work.

23   Since he joined the firm, Mr. Socks has consistently impressed me with the level of skill and care he

24   brings to the representation of our clients, including an exceptional ability to research and draft

25   effective legal briefs, to organize and quickly retrieve relevant documents and deposition excerpts,

26   and in his uncanny ability to contribute to my overall trial strategy and presentation. The two of us

27   make a better team together than either of us could be apart, helping to push one another to a new

28   level of skill. In our recent trials, Mr. Socks has joined me in handling some of the more difficult
     witnesses. Mr. Socks has become one of the best trial lawyers I know.


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1            24.       Based on my familiarity with attorneys of comparable skill and experience
2    throughout the Bay Area, including many I have taught or taught with at NITA, TLU, USF, ABA,

3    and CELA programs, I find Mr. Socks’ lodestar hourly rate of $700 per hour for this case to be

4    more than reasonable. Indeed, I believe Mr. Socks’ time is worth substantially more, but this is his

5    actual hourly rate in the instances when we handle cases on a non-contingency, billable basis.

6            25.       Elizabeth R. Malay is married to Mr. Socks, and for that reason I have known her

7    for many years as well. Even when she worked for many years as a sales executive and was not an

8    active litigator, she contributed actively to our trial strategies and techniques. She also assisted us

9    with one substantial litigation matter a few years ago, a matter that is subject to a confidential

10   settlement that at the time was the second largest recovery in the firm’s history. It was during the

11   course of that project that I began to see what a truly remarkable and talented attorney she was in

12   her own right.

13           26.       In June of 2021, we hired Ms. Malay as a salaried associate. The caliber and quality

14   of her work product has been excellent, and I routinely entrust her with projects I would ordinarily

15   reserve for our most senior and longest-standing co-counsel to work on. In Ruvalcaba, she handled

16   the examination of our primary emotional distress witness in a “garden variety” emotional distress

17   case. Based on Ms. Malay’s examination and my closing argument that tied it together with the

18   instructions, the jury awarded $6.9 million in noneconomic damages to a school district custodian.

19   This outcome bespeaks her incredible gifts as an emergent trial lawyer and her natural storytelling

20   abilities. I have never met an attorney who has achieved so much and impressed me so greatly at

21   such an early stage of their legal career.

22           27.       Based on my familiarity with attorneys of comparable skill and experience

23   throughout the Bay Area, I find Ms. Malay’s lodestar hourly rate of $400 per hour for this case to

24   be absurdly reasonable. As with Mr. Socks, I believe her time is actually worth substantially more,

25   and we are actually billing her at higher hourly rates in our billable/hourly matters.

26           28.       Our small firm fields multiple inquiries each week about our trial consulting, co-

27   counseling, and training services, including inquiries from defense attorneys we have previously

28   litigated against. Some of our former opposing counsel have expressly commended our skills and
     requested a quote to train their own associates. All of these types of inquiry are common for us,


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1    and it creates an inherent dilemma. We must always weigh our options as to the most productive
2    and effective way to spend our time because we are blessed with a variety of great options, which is

3    why contingent fee awards must be truly and fully compensatory, including an appropriate

4    multiplier, in order for us to continue accepting contingent fee cases now and in the future. Stated

5    differently, we could fill our time with lucrative billable work at any time, and thus contingent fee

6    cases must prove even more lucrative in the long run for us to continue taking on the economic

7    risks inherent in litigating them.

8            29.     I have known Drew F. Teti since January of 2012. Both of us have been licensed

9    since December of 2009, but we first met when we were separately contracted in to assist with a

10   three-month, seven-plaintiff FEHA race discrimination case against the City of Richmond,

11   California, and the Richmond Police Department. Drew and I were third and second chair,

12   respectively, in what would be our first ever jury trial. I had just opened my own fledgling law firm

13   out of my two-bedroom apartment one year earlier, and Mr. Teti had just opened his own practice

14   out of his home about a month earlier. This multi-month, high-profile trial ended with a defense

15   verdict, greatly setting both of us back in our efforts to get our respective practices off the ground.

16   After a year of progress building my small business, I was financially devastated by the three

17   months of lost labor, and the lost opportunity of working on literally any other matter during that

18   time. Financially, I was back to square one. As a result of this experience, I know firsthand just

19   how economically risky contingency fee litigation is and the need for appropriate multipliers to

20   appropriately compensate lawyers for taking such risks.

21           30.     From the ashes of this early trial, Mr. Teti and I formed a partnership, and Collier

22   Teti, LLP was born. Over the next few years, we worked together on numerous litigation matters,

23   learning the ropes of civil litigation and trial practice together. Although we later dissolved that

24   iteration of the partnership, we never stopped co-counseling with each other on cases. We have

25   now worked together for over a decade, and Mr. Teti was officially “of counsel” to our firm for

26   several years, until we added him back as a partner on August 1, 2023. We have also worked

27   together on four jury trials over the years, and as a result I am extremely familiar with Mr. Teti’s

28   work. Mr. Teti and I both have philosophy backgrounds, where principles of logic, persuasion, and
     rhetoric are paramount. A former speechwriter for retired Defense Secretary Leon Panetta, Mr.


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1    Teti is one of the best trial strategists and linguists I have ever met, and his contribution to our trial
2    strategies and presentation cannot be understated.

3            31.     During trials, Mr. Teti and I are often the last ones awake, after others have gone to

4    bed, strategizing about closing arguments, cross-examination questions, trial themes, and the like.

5    Much of my closing argument in Ruvalcaba came directly from these late-night strategy sessions with

6    Mr. Teti, and Mr. Teti deserves full credit for many of the most powerful rhetorical and

7    metaphorical segments of that argument. His pre-trial work in this case was equally remarkable, as

8    he worked tireless to sift through the proverbial haystack of Defendant’s eleventh-hour, 300,000

9    page document dump just prior to trial call, identifying new witnesses and powerful punitive

10   damages exhibits before writing the examination outlines for those same witnesses and exhibits.

11   On multiple occasions, I have picked up an examination outline from Mr. Teti, reviewed it, made

12   zero changes, and conducted the examination verbatim during trial. Mr. Teti, in his humility, is

13   requesting a mere $550 per hour on this motion. Based on my familiarity with his sheer brilliance,

14   experience, and skills, this rate is far too low.

15           32.     Lawrence Organ and Bernard Alexander are two of the most successful plaintiffs-

16   side employment lawyers in the country. On October 4, 2021, these two attorneys set the

17   nationwide record for damages awarded in an individual plaintiff civil rights trial, in this very case. 1

18   Long before Diaz, both of these attorneys were well-known as two of the top trial attorneys in the

19   nation. They had already been achieving seven and eight figure verdicts for decades before Diaz,

20   bringing justice to countless workers and incentivizing compliance with California’s most important

21   workplace protections against discrimination, harassment, and retaliation.

22           33.     Mr. Organ’s career is legendary. But what stands out the most about him is his

23   incredible dedication to the cause of civil rights, and his generous mentorship of younger

24   employment lawyers in service to that cause. Mr. Organ frequently appears, unprompted, at trials

25   being conducted by other CELA members, offering his expert guidance and feedback to younger

26   employment lawyers in an attempt to help all of us advance the cause more effectively as a class. I

27   have been the grateful beneficiary of such appearances and feedback on multiple occasions.          Mr.

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1    Organ seeks to be compensated at a mere $975 per hour for his work on this case, which was
2    frankly invaluable. His rate is eminently reasonable, and indeed below market given his truly unique

3    experience, skill set, and reputation in the field.

4            34.     Bernard Alexander is well-known as one of the most experienced, skilled, and

5    professional employment law trial attorneys in the Nation. I first met Mr. Alexander in 2015, when

6    he graciously invited me to teach at the Second Annual CELA Trial College. Mr. Alexander co-

7    founded the program, and his leadership has made the program a highly successful staple of the

8    organization. Although this case marks the first time we have tried a case together, I have

9    witnessed his advocacy and presentation skills firsthand through the program many times over the

10   last eight years. In recent years, I have joined Mr. Alexander on the Trial College Planning

11   Committee, such that now work together to ensure the program runs smoothly and to coordinate

12   the curriculum. Based on my firsthand observations of his skills, my knowledge of and familiarity

13   with his professional reputation, and my experience training thousands of trial attorneys throughout

14   the State, I can state unequivocally that Mr. Alexander is a top-tier trial attorney who should readily

15   command the highest hourly rates received by any litigator. I find his requested hourly rate of

16   $1,200 per hour to be eminently reasonable for his services, and indeed it is still well below the rates

17   charged by top defense trial lawyers with comparable experience.

18           35.     Prior to this litigation, I had never had the opportunity to work with Cimone

19   Nunley and Marqui Hood, but I worked closely with both of them in the course of trying this case.

20   They are both exceptionally talented litigators with talent that exceeds their years of experience

21   standing alone. Throughout the trial, these two attorneys took the laboring oar on many of the in

22   limine and bench briefs filed by the parties, freeing lead trial counsel up to stay focused on witness

23   examinations and presentation. But they also provided invaluable insights and recommendations in

24   team-wide strategy and planning sessions. I find their requested hourly rates of $900 (Ms. Hood)

25   and $500 (Ms. Nunley) to be well the range of reasonable rates for attorneys of comparable

26   experience, reputation, and skill throughout the Bay Area.

27           36.     I have known Navruz Avloni for many years, though I have never worked with her

28   directly or co-counseled with her on a case. Her work in this matter predated my own, but I have
     seen enough of her work product to confirm that it is of exceptional quality – consistent with the


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1    reputation of the California Civil Rights Law Group more generally. Based on my familiarity with
2    her reputation and work product, I find her requested hourly rate of $725 to be well within the

3    range of reasonable market rates charged by attorneys of comparable experience, reputation, and

4    skill throughout the Bay Area.

5            37.     Prior to this litigation, I had never had the pleasure of working with anyone at

6    Altshuler Berzon LLP, but I have long been aware of their sterling reputation for public interest

7    advocacy in the trial and appellate courts. Even as a law student at Berkeley in 2008, our Career

8    Development Office made it clear that Altshuler was one of the top private, public-interest law

9    firms in the country, and also cautioned that it would be extraordinarily difficult to get a job there.

10   Since that time, I have watched time and again as Altshuler has achieved ground-breaking and

11   impactful results for workers and consumers in a variety of high-profile litigation matters.

12           38.     Michael Rubin in particular is well known as an extremely thoughtful, persuasive,

13   and effective advocate, in the trial courts as well as the appellate courts, having been at the

14   forefront of many of the most important employment and consumer law cases at the state and

15   federal level for over four decades. Even as he worked diligently for Owen Diaz in this matter, Mr.

16   Rubin found time to handle several cases in the U.S. and California Supreme Court, and year after

17   year he has achieved numerous critical victories for workers and others. Working with him

18   personally has been an honor and a privilege, as I have seen firsthand that he is every bit as skilled

19   as I had always heard him to be. I understand Mr. Rubin is seeking an hourly rate of $1,275 on this

20   motion, which is more than reasonable for someone with his reputation, achievements, skills, and

21   experience.

22           39.     I also had the pleasure of working with Jonathan Rosenthal during this trial.

23   Although his role was not as visible as the others discussed above, his insights, research, and writing

24   skills were absolutely critical to our success. I was stunned to learn in the middle of the damages

25   retrial that he is only a fourth-year attorney, albeit one with an exceptional pedigree and

26   professional background. From my personal interactions with him, I believed for months that he

27   was a seasoned litigator with at least ten years of experience. Given his raw talent and extraordinary

28   background, I find his requested hourly rate of $625 per hour to be within the range of reasonable
     rates for attorneys of comparable experience, skill, and repute.


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1            40.     The remaining rates sought on this motion are as follows: (1) Britt Karp - $675; (2)
2    Corinne Johnson - $775; (3) Sam Hull - $550; (4) Paralegals - $325; and (5) Law Clerks - $350.

3    Although I have not had the pleasure of meeting or working directly with all of these persons, the

4    rates all appear to be within the range of reasonable rates for attorneys, paralegals, and law clerks of

5    comparable experience, skill, and repute throughout the Bay Area. I did, however, work directly

6    and closely with one paralegal in particular, Sabrina Grislis of California Civil Rights Law Group.

7    Ms. Grislis is the most skilled and talented paralegals I have ever worked with, and with a work

8    ethic that puts many attorneys to shame. $325 per hour for her services is below the reasonable

9    market rate for the extraordinary services she provided.

10           41.     In short, all of the requested hourly rates on this motion are not only reasonable,

11   but well below market and unnecessarily generous to Tesla. I believe the market rate for our firm’s

12   services to be significantly higher, based on the Richard Pearl market studies, the original and

13   adjusted Laffey matrices, and on the fact that the skills, abilities, and reputation of the attorneys

14   involved are all decidedly above average when compared to other attorneys with comparable

15   experience in the Bay Area. Few attorneys of our age and experience have been recognized for

16   their trial and litigation skills in the way that that we have, and virtually none have the more than

17   3,500 hours in civil trial experience I have logged in my career. Given market rates in the area and

18   the experience, reputation, skills, and accolades of the attorneys involved, as well as my personal

19   experience with and observations of the advocacy by each of these attorneys, I find all of these

20   rates to be well within the range of reasonable market rates for the services of attorneys of

21   comparable caliber, experience level, reputation, and accolades. Moreover, these rates are

22   undoubtedly at the low end for attorneys of comparable skill and experience in the defense bar.

23           42.     The hours incurred by our firm on this matter are as follows: (1) myself – 272.93

24   hours; (2) V. Joshua Socks – 83.1 hours; (3) Elizabeth R. Malay – 187.4 hours; and (4) Drew F. Teti

25   – 40.9 hours. Based on my familiarity with employment litigation, my own work on this case in

26   particular and trying high stakes civil rights cases in general (including complex, class, multi-

27   plaintiff, and mass plaintiff actions), and the extraordinary complexity, novelty, and volume of the

28   discovery and evidentiary record in this matter, I find the hours claimed to be exceedingly
     reasonable and utterly necessary to the successful result achieved. I also find the requested


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1    multiplier wholly warranted by the circumstances of this case, for the reasons set forth in the
2    memorandum of points and authorities.

3            43.      Attached hereto as EXHIBIT 1 is a true and correct accounting of my time spent

4    on this matter, up through the filing of this motion. This invoice was prepared and maintained in

5    the ordinary course of business, by an author with personal knowledge of its contents, at or near

6    the time of the events detailed therein. Notably, I have excluded some billable hours incurred after

7    April 12, 2023, primarily spent reviewing and strategizing over draft post-trial motions, to ensure

8    that my hours do not detract from those incurred by the attorneys primarily responsible for the

9    post-trial briefing.

10           44.      Attached hereto as EXHIBIT 2 is a true and correct copy of the invoice for

11   Elizabeth Malay. This invoice was prepared and maintained in the ordinary course of business, by

12   an author with personal knowledge of its contents, at or near the time of the events detailed

13   therein. At my direction, Ms. Malay has excluded her time spent appearing at the trial itself, in

14   order to avoid duplicative billing with the trial attorneys (including myself) whom actually had a role

15   in presenting evidence, arguing motions, and the like. The time that remains reflects her actual

16   assistance with trial preparations and presentation.

17           45.      Attached hereto as EXHIBIT 3 is a true and correct copy of the invoice for V.

18   Joshua Socks. This invoice was prepared and maintained in the ordinary course of business, by an

19   author with personal knowledge of its contents, at or near the time of the events detailed therein.

20   At my direction, Mr. Socks has excluded his time spent appearing at the trial itself, in order to avoid

21   duplicative billing with the trial attorneys (including myself) whom actually had a role in presenting

22   evidence, arguing motions, and the like. The time that remains reflects his actual assistance with

23   trial preparations and presentation.

24           46.      Attached hereto as EXHIBIT 4 is a true and correct copy of the invoice for Drew

25   F. Teti. This invoice was prepared and maintained in the ordinary course of business, by an author

26   with personal knowledge of its contents, at or near the time of the events detailed therein. At my

27   direction, Mr. Teti has excluded his time spent appearing at the trial itself, in order to avoid

28   duplicative billing with the trial attorneys (including myself) whom actually had a role in presenting




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1    evidence, arguing motions, and the like. The time that remains reflects his actual assistance with
2    trial preparations and presentation.

3            I declare, under penalty of perjury under the laws of the State of California, that the

4    foregoing is true and correct. Executed this 19th day of October, 2023, at Tiburon, California.

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                                             ________________________
8                                            Dustin L. Collier
                                             Attorney at Law
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            EXHIBIT 1
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                                          Collier Law Firm, LLP
                                      240 Tamal Vista Blvd., Ste. 100
                                         Corte Madera, CA 94925

April 13, 2023
Invoice #: 1739

Owen Diaz


Date          Description                                Hours            Rate       Total
              Previous Balance                                                       $0.00
12/7/2022     Tcw/ Larry Organ re:                          0.70        $750.00    $525.00
              Co-Counseling; Confer w/ CLF re:
              Same
12/8/2022     Download and Review Client File               0.50        $750.00    $375.00
12/9/2022     Correspondence w/ Co-Counsel                  0.10        $750.00     $75.00
12/11/2022    Review Agenda for Team Meeting                0.10        $750.00     $75.00
12/12/2022    Attend Team Strategy Session;                 1.20        $750.00    $900.00
              Calendar Tasks
12/20/2022    Review Trial Transcripts and Exhibits         4.00        $750.00   $3,000.00

12/21/2022    Review Trial Transcripts and Exhibits         5.90        $750.00   $4,425.00

12/22/2022    Review Trial Transcripts and Exhibits         8.30        $750.00   $6,225.00

12/29/2022    Review Draft of Revised Report from           0.30        $750.00    $225.00
              EconOne
1/4/2023      Trial Prep. Team Meeting; Prep. for           0.80        $750.00    $600.00
              Same
1/8/2023      Correspondence w/ Co-Counsel                  0.10        $750.00     $75.00
1/18/2023     Correspondence w/ Co-Counsel                  0.10        $750.00     $75.00
1/19/2023     Correspondence w/ Co-Counsel                  0.10        $750.00     $75.00
1/19/2023     Review Draft Questionnaire; Tcw/              0.60        $750.00    $450.00
              Co-Counsel
2/3/2023      Correspondence w/ Co-Counsel                  0.10        $750.00     $75.00
2/4/2023      Tcw/ Co-Counsel re: Mock Cross                0.90        $750.00    $675.00
2/6/2023      Correspondence w/ Co-Counsel                  0.10        $750.00     $75.00
2/7/2023      Review Questionnaire and Voir Dire;           0.40        $750.00    $300.00
              Correspondence w/ Co-Counsel

2/10/2023     Proof and Edit MIL Opps; Tcw/                 3.20        $750.00   $2,400.00
              Co-Counsel
2/11/2023     Prepare for Mock Witness                      4.50        $750.00   $3,375.00
              Examination
                                                                                              Page 1
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Date         Description                           Hours     Rate        Total
2/12/2023    Prep. for Mock Exam Cont.              1.80   $750.00   $1,350.00
2/12/2023    Witness Prep/Mock Examination          3.40   $750.00   $2,550.00
2/16/2023    Attend Focus Group; Debrief re:        2.80   $750.00   $2,100.00
             Same
2/16/2023    Review and Edit Focus Group Script;    1.10   $750.00    $825.00
             Develop and Refine Defense Themes

2/16/2023    Tcw/ Co-Counsel re: Trial Strategy     0.60   $750.00    $450.00
             and Themes
2/17/2023    Review/Edit Co-Counsel Agreement       0.30   $750.00    $225.00
             and Ntc of Association
2/17/2023    Tcw/ Co-Counsel re: First Verdict      0.10   $750.00     $75.00
2/17/2023    Team Strategy Session w/               1.10   $750.00    $825.00
             Co-Counsel; Internal CLF Debrief
2/18/2023    Review/Finalize Co-Counsel             0.20   $750.00    $150.00
             Agreement
2/18/2023    Trial Prep; Revise and Refine Mock     2.40   $750.00   $1,800.00
             Cross Outline
2/19/2023    Trial Prep./Theme Development          0.70   $750.00     $525.00
2/19/2023    Witness Prep. and Mock                 3.90   $750.00   $2,925.00
             Examination
2/20/2023    Correspondence w/ Co-Counsel           0.10   $750.00     $75.00
2/22/2023    Tcw/ Co-Counsel re: Focus Group        0.20   $750.00    $150.00

2/22/2023    Trial Prep. and Exam Drafting;         1.50   $750.00   $1,125.00
             Correspondence w/ Co-Counsel
2/23/2023    Tcw/ Co-Counsel; Misc. Trial Prep      2.20   $750.00   $1,650.00

2/24/2023    Review Preliminary Instructions;       0.60   $750.00    $450.00
             Correspondence w/ Co-Counsel
2/24/2023    Review/Edit Draft Impeachment          0.80   $750.00    $600.00
             Grid; Review Impeachment Exhibits

2/26/2023    Attend Focus Group; Debrief re:        3.80   $750.00   $2,850.00
             Same
2/26/2023    Witness Prep. and Mock Exam; Prep.     4.20   $750.00   $3,150.00
             for Same
2/27/2023    Appear at Pre-Trial Conference         4.00   $750.00   $3,000.00
             (Portal-to-Portal); Prep. for Same
2/28/2023    Tcw/ CLF Team re: Witness Exams        0.60   $750.00    $450.00
             and Focus Group Prep.
2/28/2023    Tcw/ Co-Counsel (Organ and             0.40   $750.00    $300.00
             Nunley) re: Focus Group and
             Witness Exams
                                                                                 Page 2
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Date         Description                          Hours      Rate       Total
2/28/2023    Tcw/ Co-Counsel re: Witness Exams     0.50    $750.00    $375.00

3/1/2023     Tcw/ Larry Organ re: Trial Themes     0.90    $750.00    $675.00

3/2/2023     Moderate Focus Group; Debrief         2.20    $750.00   $1,650.00
3/2/2023     Prepare for Focus Group               7.40    $750.00   $5,550.00
3/4/2023     Appear at Focus Group; Debrief        4.60    $750.00   $3,450.00
3/4/2023     Prepare for Focus Group               2.30    $750.00   $1,725.00
3/4/2023     Tcw/ Co-Counsel re: Witness Prep.     0.50    $750.00     $375.00
             and Strategy
3/5/2023     Trial Prep.                           1.40    $750.00   $1,050.00
3/5/2023     Witness Prep. / Mock Exam             4.30    $750.00   $3,225.00
3/6/2023     Tcw/ Co-Counsel                       0.20    $750.00     $150.00
3/6/2023     Trial and Examination Prep.           2.00    $750.00   $1,500.00
3/7/2023     Draft Examination Outlines            2.50    $750.00   $1,875.00
3/8/2023     Prep. for Exam Prep w/                1.30    $750.00     $975.00
             Oppenheimer
3/8/2023     Team Trial Strategy Meeting           1.00    $750.00    $750.00
3/9/2023     Correspondence w/ Co-Counsel re:      0.20    $750.00    $150.00
             Mail Merge and Exam Outlines
3/9/2023     Review and Edit Exam Outline          4.20    $750.00   $3,150.00
             (Jackson)
3/9/2023     Tcw/ Oppenheimer; Revise Slides       0.90    $750.00    $675.00
             and Correspondence w/ Co-Counsel

3/10/2023    Review and Finalize Exam Outlines;    3.70    $750.00   $2,775.00
             Correspondence w/ Witnesses

3/10/2023    Tcw/ Co-Counsel re: Strategy and      0.40    $750.00    $300.00
             Witness Databases
3/12/2023    Prep. for Mock Cross with Client      1.50    $750.00   $1,125.00
3/13/2023    Attend Focus Group; Debrief re:       3.40    $750.00   $2,550.00
             Same
3/13/2023    Develop Themes/Revise Focus           0.80    $750.00    $600.00
             Group Script
3/13/2023    Mock Cross with Plaintiff             4.60    $750.00   $3,450.00
3/14/2023    Communications w/ Co-Counsel re:      0.60    $750.00    $450.00
             Trial Strategy
3/14/2023    Review and Revise Expert              1.80    $750.00   $1,350.00
             Demonstratives/Outlines
3/14/2023    Tcw/ Wayne Jackson and                0.30    $750.00    $225.00
             Co-Counsel
3/15/2023    Review Order re: MILs;                0.70    $750.00    $525.00
             Correspondence w/ Co-Counsel
                                                                                 Page 3
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Date         Description                           Hours     Rate       Total
3/16/2023    Tcw/ Co-Counsel re: Witnesses          0.40   $750.00    $300.00
3/16/2023    Zoom Conf. w/ OPC re: Unavailable      0.20   $750.00    $150.00
             Witness Designations
3/17/2023    Meet w/ Bernard, Larry, and Rest of    7.10   $750.00   $5,325.00
             Team (Remote) re: Trial Strategy

3/17/2023    Revise Focus Group Script; Develop     4.60   $750.00   $3,450.00
             and Refine Narrative and Themes

3/18/2023    Attend Focus Group; Debrief re:        4.80   $750.00   $3,600.00
             Same
3/18/2023    Meet w/ Trial Team to Prep. for        2.70   $750.00   $2,025.00
             Focus Group (P2P)
3/19/2023    Correspondence w/ OPC re: Wheeler      0.10   $750.00     $75.00

3/19/2023    Meet w/ Bernard, Larry, Susan, and     7.40   $750.00   $5,550.00
             Emily re: Trial Strategy (P2P)
3/20/2023    Meet w/ Bernard and Larry re:          0.80   $750.00    $600.00
             Opening Statement
3/20/2023    Prep. for Diaz Cross; Meet with        5.30   $750.00   $3,975.00
             Team to Moot Diaz Cross (P2P)
3/20/2023    Witness Prep. w/ Co-Counsel and        4.70   $750.00   $3,525.00
             Michael Wheeler (P2P)
3/21/2023    Attend Focus Group; Debrief re:        3.00   $750.00   $2,250.00
             Same
3/21/2023    Rehearse Examinations of Jackson,      2.10   $750.00   $1,575.00
             Wheeler, Delagrande, and Martinez

3/21/2023    Witness Prep. (Oppenheimer); Prep.     1.20   $750.00    $900.00
             for Same
3/22/2023    Review Juror Questionnaires; Team      3.70   $750.00   $2,775.00
             Meeting re: Same
3/22/2023    Team Strategy Session w/               2.30   $750.00   $1,725.00
             Co-Counsel
3/23/2023    Review and Markup Draft Opening        3.20   $750.00   $2,400.00

3/23/2023    Review Defense Motions (x3)            0.90   $750.00    $675.00
3/23/2023    Revise/Refine Examination Outlines     1.30   $750.00    $975.00

3/23/2023    Tcw/ OPC and Co-Counsel re:            0.20   $750.00    $150.00
             Opening Slide Objections
3/24/2023    Appear at Court Conference re: Jury    0.90   $750.00    $675.00
             Questionnaires/Cause
3/24/2023    Review Juror Questionnaires and        1.50   $750.00   $1,125.00
             Research; Prep. for Hearing                                         Page 4
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Date         Description                            Hours      Rate       Total
3/24/2023    Review/Edit Opp. to Oppenheimer         0.40    $750.00    $300.00
             Motion
3/24/2023    Witness Prep (Oppenheimer)               0.80   $750.00    $600.00
3/24/2023    Zoom Conf. w/ OPC re: Cause              0.20   $750.00    $150.00
             Challenges
3/25/2023    Attend Focus Group Debrief               0.70   $750.00    $525.00
             (Already-in-Progess)
3/26/2023    Misc. Trial Prep. (Revise and Refine     2.80   $750.00   $2,100.00
             Witness Exams, Review Depos)

3/26/2023    Review FG Video; Correspondence          2.30   $750.00   $1,725.00
             re: Same
3/26/2023    Witness Prep. (Reading)                  0.40   $750.00     $300.00
3/26/2023    Witness Prep. w/ Client                  3.00   $750.00   $2,250.00
3/27/2023    Appear at Trial Day 1 (Jury             11.50   $750.00   $8,625.00
             Selection/Openings)
             (Portal-to-Portal)
3/27/2023    Team Strategy Session w/ Day 1 and       2.20   $750.00   $1,650.00
             Openings
3/28/2023    Appearance at Trial Day 2                8.10   $750.00   $6,075.00
             (Portal-to-Portal)
3/28/2023    Assist with Diaz Prep                    0.90   $750.00    $675.00
3/28/2023    Review Draft Final Instructions;         0.40   $750.00    $300.00
             Confer w/ Co-Counsel
3/28/2023    Team Strategy Session w/                 3.80   $750.00   $2,850.00
             Co-Counsel
3/29/2023    Appear at Hearing on Jury                0.80   $750.00    $600.00
             Instructions
3/29/2023    Appearance at Trial Day 3                8.40   $750.00   $6,300.00
             (Portal-to-Portal)
3/29/2023    Prepare for Day 4 Exams (Review          3.30   $750.00   $2,475.00
             Witness Depos. and Outlines)
3/29/2023    Team Strategy Session w/                 2.20   $750.00   $1,650.00
             Co-Counsel
3/30/2023    Appear at Trial Day 4                    7.03   $750.00   $5,275.00
             (Portal-to-Portal)
3/30/2023    Assist Bernard with Closing              6.70   $750.00   $5,025.00
             Argument Presentation/Preparation

3/31/2023    Appearance at Trial Day 5               11.60   $750.00   $8,700.00
             (Portal-to-Portal)
3/31/2023    Review Delagrande Trial Testimony;       0.40   $750.00    $300.00
             Revise Exam

                                                                                   Page 5
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Date         Description                            Hours      Rate          Total
4/3/2023     Appear at Trial Day 6 (Deliberations    8.10    $750.00     $6,075.00
             and Verdict) (Portal-to-Portal)

4/4/2023     Correspondence w/ Co-Counsel and         0.30   $750.00       $225.00
             Jury Consult re: Autopsy
4/5/2023     Tcw/ Co-Counsel (Organ) re:              1.10   $750.00       $825.00
             Post-Trial Strategy
4/5/2023     Team Strategy Session w/                 1.20   $750.00       $900.00
             Co-Counsel
4/6/2023     Correspondence w/ Sabrina re:            0.10   $750.00        $75.00
             Skip-Tracing Jurors
4/7/2023     Review Draft Proposed Judgment           0.30   $750.00       $225.00
             (x2); Correspondence w/ OPC re:
             Same
4/10/2023    Finalize and File Proposed Judgment;     0.30   $750.00       $225.00
             Correspondence w/ Court

4/10/2023    Research re: Post-Trial Deadlines;       0.20   $750.00       $150.00
             Correspondence w/ Co-Counsel
4/10/2023    Review Proposed Revisions to Draft       0.20   $750.00       $150.00
             Judgment; Correspondence w/ OPC

4/10/2023    Tcw/ Michael Rubin re: Proposed          0.20   $750.00       $150.00
             Judgment; Correspondence re: Same

4/11/2023    Correspondence w/ Co-Counsel re:         0.20   $750.00       $150.00
             Fee Motion Stip
4/11/2023    Proof and Edit Draft Stip;               0.30   $750.00       $225.00
             Correspondence re: Same
4/12/2023    Review and Approve Malay, Socks,         0.80   $750.00       $600.00
             and Teti Billing; Compile Same

4/12/2023    Review Proposed Stip. re: Fees;          0.30   $750.00       $225.00
             Correspondence re: Same
             Amount Due                             272.93             $204,700.00




                                                                                     Page 6
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            EXHIBIT 2
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                                                                   Diaz v. Tesla Inc.
Collier Law Firm, LLP
240 Tamal Vista Blvd., Ste. 100, Corte Madera, CA 94925
           Attorney: Elizabeth Rose Malay
  Attorney phone: (415) 767-0047                                                                                 Week Start:    6/1/2021
   Attorney email: emalay@collierlawsf.com                                                                       Hourly Rate:   $450.00
              Client: Owen Diaz



                                                                                        Billable
       Date          Description                                                         Hours       Total
2/6/2023             consult with co-counsel re cross examination prep                       0.4 $      180.00
2/9/2023             draft cross examination impeachment grid                               3.00 $    1,350.00
2/10/2023            draft cross examination impeachment grid                               4.20 $    1,890.00
2/12/2023            prep Owen for cross examination                                        2.50 $    1,125.00
2/14/2023            attend team strategy meeting                                           3.20 $    1,440.00
2/16/2023            review and edit focus group script                                     0.50 $      225.00
2/16/2023            review correspondence and edits from co-counsel re focus group         0.40 $      180.00
2/16/2023            attend focus group                                                     2.10 $      945.00
2/17/2023            communications with co-counsel                                         1.10 $      495.00
2/17/2023            team call re witnesses                                                 0.80 $      360.00
2/20/2023            review punitive arguments and brainstorm on same                       0.40 $      180.00
2/20/2023            draft trial database of Diaz depositions                               4.20 $    1,890.00
2/20/2023            research black history and origins of racial slurs and imagery         0.50 $      225.00
2/20/2023            brainstorm trial ideas and document the same                           0.40 $      180.00
2/21/2023            draft trial database of Diaz depositions                               4.40 $    1,980.00
2/22/2023            draft trial database of Diaz depositions                               6.60 $    2,970.00
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2/22/2023   communications with co-counsel                              0.50 $    225.00
2/23/2023   draft trial database of Diaz depositions                    1.30 $    585.00
2/23/2023   call with co-counsel re trial prep                          0.40 $    180.00
2/23/2023   draft cross examination impeachment grid                    4.80 $   2,160.00
2/23/2023   call with co-counsel re trial prep                          0.70 $    315.00
2/24/2023   draft cross examination impeachment grid                    5.30 $   2,385.00
2/25/2023   draft cross examination impeachment grid                    4.20 $   1,890.00
2/27/2023   communications with co-counsel                              0.30 $    135.00
2/27/2023   attend pre-trial conference                                 1.50 $    675.00
2/28/2023   team calls re trial prep                                    0.70 $    315.00
2/28/2023   review trial testimony to draft trial exam                  2.50 $   1,125.00
2/28/2023   review deposition testimony                                 1.40 $    630.00
3/1/2023    draft trial database to prep direct exams                   4.10 $   1,845.00
3/2/2023    team meeting re trial prep                                  2.80 $   1,260.00
3/2/2023    draft trial database to prep direct exams                   4.30 $   1,935.00
3/2/2023    attend focus group                                          2.00 $    900.00
3/2/2023    team meeting re focus group                                 1.10 $    495.00
3/3/2023    draft trial database to prep direct exams                   4.90 $   2,205.00
3/4/2023    attend focus group                                          3.00 $   1,350.00
3/4/2023    team meeting re focus group                                 1.60 $    720.00
3/5/2023    draft trial database to prep direct exams                   3.20 $   1,440.00
3/6/2023    draft trial database to prep direct exams                   6.20 $   2,790.00
3/7/2023    draft trial database to prep cross exams                    7.10 $   3,195.00
3/8/2023    draft trial database to prep cross exams                    4.20 $   1,890.00
3/8/2023    team meeting re trial prep                                  1.00 $    450.00
3/13/2023   team meeting re witness prep                                3.40 $   1,530.00
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3/13/2023   attend focus group                                            2.10 $    945.00
3/13/2023   team meeting re focus group                                   0.80 $    360.00
3/16/2023   draft trial database                                          3.50 $   1,575.00
3/17/2023   team meeting re trial prep                                    4.90 $   2,205.00
3/18/2023   attend focus group                                            3.00 $   1,350.00
3/18/2023   team meeting post focus group                                 1.70 $    765.00
3/20/2023   draft trial database                                          3.10 $   1,395.00
3/21/2023   draft trial database                                          6.80 $   3,060.00
3/21/2023   attend focus group                                            2.00 $    900.00
3/21/2023   team meeting post focus group                                 0.80 $    360.00
3/21/2023   call with co-counsel re trial prep                            0.30 $    135.00
3/22/2023   team meeting re trial prep                                    5.40 $   2,430.00
3/22/2023   research jurors                                               2.10 $    945.00
3/23/2023   draft trial database                                          8.40 $   3,780.00
3/24/2023   draft trial database                                          1.80 $    810.00
3/24/2023   research expert testimony                                     1.20 $    540.00
3/25/2023   attend focus group and debrief session                        3.00 $   1,350.00
3/26/2023   attend focus group and debrief session                        2.10 $    945.00
3/27/2023   trial prep                                                    2.90 $   1,305.00
3/27/2023   team meeting re trial prep                                    2.10 $    945.00
3/28/2023   team meeting re trial prep                                    2.30 $   1,035.00
3/28/2023   trial prep                                                    3.50 $   1,575.00
3/29/2023   trial prep                                                    2.20 $    990.00
3/29/2023   team meeting re trial prep                                    3.40 $   1,530.00
3/30/2023   team meeting re trial prep                                    1.50 $    675.00
3/30/2023   trial prep                                                    3.80 $   1,710.00
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3/31/2023     trial prep                                                    2.50 $    1,125.00
4/3/2023      debrief meeting                                               1.50 $      675.00
4/6/2023      post-trial research                                           1.10 $      495.00
4/10/2023     post-trial research                                           0.40 $      180.00
      Total                                                                187.4 $   84,330.00
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            EXHIBIT 3
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                                                          Diaz v. Tesla Inc.
Collier Law Firm, LLP
240 Tamal Vista Blvd., Ste. 100, Corte Madera, CA 94925
         Attorney: V. Joshua Socks
  Attorney phone: (415) 767-0047                                                                        Week Start:    6/1/2021
   Attorney email: jsocks@collierlawsf.com                                                              Hourly Rate:   $700.00
              Client: Owen Diaz



                                                                               Billable
       Date         Description                                                 Hours       Total
    2/14/2023       Attend team strategy meeting                                    2.1 $    1,470.00
    2/27/2023       Communications with co-counsel                                 0.30 $      210.00
    2/27/2023       Attend pre-trial conference                                    1.50 $    1,050.00
    2/28/2023       Team calls re trial prep                                       0.70 $      490.00
     3/1/2023       Communications with co-counsel                                 0.90 $      630.00
     3/2/2023       Trial preparation                                              1.60 $    1,120.00
     3/2/2023       Communications with co-counsel                                 2.40 $    1,680.00
     3/2/2023       Focus group and related                                        3.10 $    2,170.00
     3/3/2023       Trial preparation                                              3.40 $    2,380.00
     3/4/2023       Focus group and related                                        4.60 $    3,220.00
     3/5/2023       Trial preparation                                              3.20 $    2,240.00
     3/8/2023       Trial preparation                                              7.60 $    5,320.00
    3/17/2023       Trial preparation                                              1.60 $    1,120.00
    3/17/2023       Trial preparation                                              1.40 $      980.00
    3/18/2023       Focus group and related                                        4.70 $    3,290.00
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3/21/2023   Trial preparation                                          2.30 $    1,610.00
3/21/2023   Focus group and related                                    2.80 $    1,960.00
3/22/2023   Trial preparation                                          4.60 $    3,220.00
3/24/2023   Research and brief re Oppenheimer testimony                3.70 $    2,590.00
3/25/2023   Focus group and related                                    2.30 $    1,610.00
3/25/2023   Trial preparation                                          3.90 $    2,730.00
3/26/2023   Trial preparation                                          4.20 $    2,940.00
3/27/2023   Trial preparation                                          2.40 $    1,680.00
3/28/2023   Trial preparation                                          3.50 $    2,450.00
3/29/2023   Markup transcripts/trial preparation                       4.80 $    3,360.00
3/30/2023   Trial preparation/Research re trial misconduct             3.60 $    2,520.00
3/31/2023   Review and markup trial transcripts/closing slides         5.40 $    3,780.00
4/10/2023   post-trial research                                        0.50 $      350.00
  Total                                                                83.1 $   58,170.00
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            EXHIBIT 4
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                                Diaz v. Tesla - Drew F. Teti Invoice
Diaz       2/23/2023 Phone call with co-counsel.                        0.5   550     275
Diaz       2/23/2023 File review                                        0.5   550     275
Diaz       2/23/2023 Continued review/ database of exhibits.            3.6   550    1980
Diaz       2/28/2023 Diaz call re trial prep                            0.6   550     330
Diaz       2/28/2023 Focus group and recap.                               3   550    1650
Diaz        3/2/2023 Focus group and strategy session.                    3   550    1650
Diaz       3/13/2023 Diaz focus group.                                  3.1   550    1705
Diaz       3/21/2023 Transcript review and exam outline drafti          3.7   550    2035
Diaz       3/21/2023 Focus group and strategy session.                  2.2   550    1210
Diaz       3/22/2023 Transcript review and exam outline drafti          2.2   550    1210
Diaz       3/24/2023 Legal research re admissibility of expert te       3.4   550    1870
Diaz       3/27/2023 Trial strategy and prep.                           3.3   550    1815
Diaz       3/28/2023 Trial strategy and prep                            3.2   550    1760
Diaz       3/29/2023 Trial strategy and prep                            4.4   550    2420
Diaz       3/30/2023 Trial strategy/ closing themes.                    4.2   550    2310
TOTAL                                                                  40.9   550   22495
